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733 west 4“‘ Ave., sulTE 400

 

Kenneth A. Norsworthy, ABA No. 7705055
LaW Office of Kenneth A. Norsvvorthy, LLC
733 West 4th Ave., Suite 400

Anchorage, AK 99501

Phone: (9()7) 279-1000

FaX: (907) 276~4125
ken@norsvvorthviavviirm.com

Attorney for Plaintiff G. A. W.

UNITED STATES DISTRICT C()URT

FDR THE DISTRICT OF ALASKA

G. A. W., )
) No.
Plaintiff, )
)
vs. )
)
UNITED STATES OF AMERICA, )
) COMPLAINT
Defendant. )
)

 

Comes now Plaintiff G.A.W., through counsel, and for her cause of action
against the Defendant, United States ofAmerica, states as folioWs:
JURISDICTION
1. At ali times relevant hereto, Plaintiff G.A.W. vvas a resident of the State of
Alaska and a civilian dependent spouse of an active duty member of the United States
Army, stationed at Joint Base Elmendorf Richardson.
2. This cause of action arises under the Federai Tort Ciaims Act, 28 U.S.C.

sec. 1346, 2401, and 2671 et. seq.

G.A. W. v. United States OfAmerica
COMPLAINT
Page l of 5

Case 3:13-cV-00218-RRB Document 1 Filed 11/20/13 Page 1 of 5

 

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AN<:HORAGE, AK 99501
(907) 279~1000
FAX 276-4125

 

3. On l\/lay lO, 2012, the claim set forth herein Was presented in vvriting to
the Department of the Air Force Legal Services Agency ("AFLSA/JACC").

4. On May 13, 2013, the claim Was denied by AFLSA/JACC.

5. On July 18, 2()l3, Plaintiff timely requested reconsideration of her claim.

6. On August 23, 2013, the claim after reconsideration Was again denied by
AFLSA/JACC.

7. Based on paragraphs l through 6 above, this court has jurisdiction over

the claim asserted herein.
FACTS AND CAUSES OF ACTI()N IN NEGLIGENCE

8. On or about September 20, 2010, Plaintiff Was admitted to Elmendorf Air
Force Hospital for a Colonoscopy and Esophagogastroduodenoscopy (EGD). Plaintiff
Was administered Versed before prior to the EGD and the procedure, performed by Dr.
Cook and his staff, Was completed Without any problems Hovvever, as Dr. Cook began
the colonoscopy, the Plaintiff began to experience pain, as the Versed had Worn off, and
Dr. Cool< stopped the procedure to request an anesthesiologist

9. Certified nurse anesthetist Capt. B. J. Holmes, U.S.A.F., Was assigned to
administer Plaintiff‘s anesthesia Capt. Holmes discussed With Plaintiff the options for
receiving the anesthesia and Plaintiff chose to have it administered intravenously.

lO. After the surgery Was completed Captain Holrnes sexually molested

Plaintiff While she Was coming out from under the effects of the anesthesia Plaintiff

G.A. W. v. United Sz‘ates ofAmerl`ca
COMPLAINT
Page 2 of 5

Case 3:13-cV-00218-RRB Document 1 Filed 11/20/13 Page 2 of 5

 

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(907) 2791000
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Was conscious enough to realize What Was happening to her but unable to physically
resist.

ll. _ Plaintiff immediately reported What happened to other medical personnel
present and in attendance of her at the hospital

l2. Investigation of Plaintiff s complaint revealed that Captain Holmes had
sexually molested other female patients under his care in the recent past prior to molest-
ing Plaintiff and those prior molestations had been reported to Captain Holmes' superi-
ors.

l3. No action vvas taken by Defendant as a result of the prior complaints
against Captain Holmes to remove him from duty and/or prevent his continued access to
hospital patients in the same or similar situation as Plaintiff on the subject occasion.

14. Plaintiff Was not advised before she consented to being treated by Capt.
Holmes of the reports of prior complaints of sexual molestation by him of patients

15. Plaintiff suffered severe emotional and psychological injury as a result of
this event Which resulted in damages including past and ongoing medical care and
expenses, loss of income and severe mental and emotional suffering and disability

16. Defendant's agents/employees, including but not limited to Colonels
Freidrichs, Aftleck and Wolfe, Who on the subject date Were the commanders in charge
of the subject JBER Hospital operations Were all acting Within the scope of their em~
ployment/agency and Were charged With the duty to protect patients, including Plaintiff,

under the care of the hospital from undue risk of harm. lncluded in that duty Was the

G.A. W. v. Unl`ted States of Amerl`ca
COMPLAINT
Page 3 of 5

Case 3:13-cV-00218-RRB Document 1 Filed 11/20/13 Page 3 of 5

 

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ANCHORAGE, AK 99501
{907) 2731 000
FAX 2764125

 

duty and obligation to implement and enforce policies and procedures and to train and
supervise other personnel in proper procedures to be able to timely detect, prevent and
report any conduct by others present in the hospital setting, vvhether employees or non-
employees, from engaging in conduct likely to cause harm to patients.

l7. Defendant had the duty upon initially being notified of the risk of harm to
patients posed by Captain Holmes to take appropriate actions to prevent him from
having the ability to continue posing said risk of harm.

18. Defendant had a duty to obtain the informed consent of Plaintiff before
the surgery.

l9. Defendant breached its above described duties by failing to implement
and to adequately enforce appropriate and effective policies and procedures and/or to
adequately train and supervise other personnel to detect, prevent and report the above
described misconduct taken toward patients and by failing to take appropriate and
necessary actions to prevent continued risk of harm once the misconduct Was initially
reported by patients other prior to the injury to Plaintiff, and by failing to advise Plain-
tiff before she consented to submit to Capt. Holmes care of the prior complaints of
misconduct made against him.

20. Defendant’s breach of duties as described herein vvere the result of negli-
gence and said negligent acts and omissions Were the proximate cause of Plaintiff’ s

complained of injuries

G.A. W. v. Um`tea' Sl‘ales ofAmerl`ca
COMPLAINT
Page 4 of 5

Case 3:13-cV-00218-RRB Document 1 Filed 11/20/13 Page 4 of 5

 

PRAYER
WHEREFORE, Plaintiff prays for relief as set forth below:
l. Entry of judgment against Defendant awarding Plaintiff compensation for
the damages resulting from her injuries in the amount of $ 5,000,00().0();
2. All costs of litigation and reasonable fees and expenses of plaintiffs
attorneys and other expenses to the maximum amount allowed by law; and
3. All such relief as is just in the premises

DATED this fig day of November, 2013.

Law Office of Kenneth A. Norsworthy, LLC

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P)yKenneth A Norsworthy
Alaska Bar No. 77()5()55

G.A. W. v. United Slates OfAmerica
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Case 3:13-cV-00218-RRB Document 1 Filed 11/20/13 Page 5 of 5

 

 

